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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                     Chapter 11

    AGSPRING, LLC, et al.,1                                    Case No. 23-10699 (CTG)
                                                               (Jointly Administered)
                            Debtors.


                                                           Objection Deadline: August 11, 2023 at 4:00 p.m. (ET)
                                                               Hearing Date: August 18, 2023 at 10:00 a.m. (ET)

   NOTICE OF DEBTORS’ MOTION FOR ENTRY OF ORDER (1) APPROVING
 STIPULATION AUTHORIZING USE OF CASH COLLATERAL BY DEBTORS, (2)
GRANTING ADEQUATE PROTECTION, (3) MODIFYING THE AUTOMATIC STAY,
                AND (4) GRANTING RELATED RELIEF

             PLEASE TAKE NOTICE that on July 28, 2023, the above-captioned debtors and

debtors in possession (the “Debtors”) filed the Motion for Entry of Order (1) Approving

Stipulation Authorizing Use of Cash Collateral by Debtors, (2) Granting Adequate Protection,

(3) Modifying the Automatic Stay, and (4) Granting Related Relief (the “Motion”) with the

United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

             PLEASE TAKE FURTHER NOTICE that any response or objection to the entry of an

order with respect to the relief sought in the Motion must be filed with the Bankruptcy Court on

or before August 11, 2023 at 4:00 p.m. prevailing Eastern Time.

                   PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon: (i) proposed counsel to the Debtors, (a) Dentons

US LLP, 601 S. Figueroa Street, #2500, Los Angeles, CA 90017 (Attn: Samuel Maizel

(samuel.maizel@dentons.com) and Tania M. Moyron (tania.moyron@dentons.com)) and



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Agspring, LLC (7735); Agspring Idaho 1 LLC (1720); Agspring Idaho LLC (8754); FO-ND LLC, dba
Firebrand Artisan Mills (1520); Agspring Logistics LLC, dba Agforce (6067); and Agspring Idaho 2 LLC (9262).
The Debtors’ mailing address is 5101 College Boulevard, Leawood, KS 66211.


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(b) Pachulski Stang Ziehl & Jones LLP, 919 N. Market Street, 17th Floor, Wilmington, DE

19801 (Attn: Laura Davis Jones (ljones@pszjlaw.com)); and (ii) the Office of the United States

Trustee for the District of Delaware, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE

19801 (Attn: Benjamin A. Hackman (benjamin.a.hackman@usdoj.gov)).

               PLEASE TAKE FURTHER NOTICE THAT, IF AN OBJECTION IS

PROPERLY FILED AND SERVED IN ACCORDANCE WITH THE ABOVE PROCEDURES,

A HEARING WILL BE HELD ON AUGUST 18, 2023 AT 10:00 A.M. (EASTERN TIME)

BEFORE THE HONORABLE CRAIG T. GOLBLATT, UNITED STATES BANKRUPTCY

JUDGE FOR THE DISTRICT OF DELAWARE, 824 MARKET STREET, 3RD FLOOR,

COURTROOM NO. 7, WILMINGTON, DELAWARE 19801. ONLY OBJECTIONS MADE

IN WRITING AND TIMELY FILED WILL BE CONSIDERED BY THE BANKRUPTCY

COURT AT SUCH HEARING.

               IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE

COURT MAY GRANT THE RELIEF DEMANDED BY THE MOTION WITHOUT

FURTHER NOTICE OR HEARING.




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Dated: July 28, 2023                   PACHULSKI STANG ZIEHL & JONES LLP

                                      /s/ Laura Davis Jones
                                      Laura Davis Jones (DE Bar No. 2436)
                                      919 N. Market Street, 17th Floor
                                      P.O. Box 8705
                                      Wilmington, DE 19899-8705 (Courier 19801)
                                      Telephone: (302) 652-4100
                                      Facsimile: (302) 652-4400
                                      Email: ljones@pszjlaw.com

                                      -and-

                                      DENTONS US LLP
                                      Samuel R. Maizel
                                      Tania M. Moyron
                                      601 S. Figueroa Street, #2500
                                      Los Angeles, CA 90017
                                      Telephone: (213) 623-9300
                                      Email: samuel.maizel@dentons.com
                                             tania.moyron@dentons.com

                                      Proposed Counsel for Debtors and Debtors in
                                      Possession




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                     Chapter 11

    AGSPRING, LLC, et al.,2                                    Case No. 23-10699 (CTG)
                                                               (Jointly Administered)
                            Debtors.



                                      CERTIFICATE OF SERVICE


                 I, Laura Davis Jones, hereby certify that on the 28th day of July, 2023, I caused a

copy of the following document(s) to be served on the individual(s) on the attached service list(s)

in the manner indicated:

                 Notice of Motion fFor Entry of Order (1) Approving Stipulation Authorizing
                 Use of Cash Collateral by Debtors, (2) Granting Adequate Protection, (3)
                 Modifying the Automatic Stay, and (4) Granting Related Relief


                                                     /s/ Laura Davis Jones
                                                     Laura Davis Jones (DE Bar No. 2436)




2
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Agspring, LLC (7735); Agspring Idaho 1 LLC (1720); Agspring Idaho LLC (8754); FO-ND LLC, dba
Firebrand Artisan Mills (1520); Agspring Logistics LLC, dba Agforce (6067); and Agspring Idaho 2 LLC (9262).
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